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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

SUNIL BHATIA, individually and                )
derivatively on behalf of MEDVALUE            )
OFFSHORE SOLUTIONS, INC.,                     )
                                              )
                       Plaintiff,             )
                                              )
                v.                            )
                                              )
RAJU VASWANI, an individual, KARAN            )
VASWANI, an individual, MV OUTSOURCING, )
INC., an Illinois Corporation,                ) Case Number: 1:18-cv-2387
                                              ) Hon. Robert M. Dow, Jr., Presiding
                       Defendants.            )
_________________________________________ ) Hon. Beth W. Jantz, Magistrate Judge
RAJU VASWANI, individually and                )
derivatively on behalf of MEDVALUE            )
OFFSHORE SOLUTIONS, INC.,                     )
An Illinois Corporation,                      )
                                              )
Counter-Plaintiff and                         )
Third-Party Plaintiff,                        )
                                              )
                v.                            )
                                              )
SUNIL BHATIA, an individual,                  )
                                              )
                       Counter-Defendant,     )
                                              )
                and                           )
                                              )
VARSHA BHATIA, an individual,                 )
                                              )
                       Third-Party Defendant. )

   PLAINTIFF’S MOTION FOR CLARIFICATION REGARDGING THIS COURT’S
                       DECEMBER 22, 2020 ORDER


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       Plaintiff, Sunil Bhatia, individually and derivatively on behalf of MedValue Offshore

Solutions, Inc. (“Plaintiff”), by his attorneys, Regas, Frezados & Dallas LLP, for his motion for

clarification of the Court’s December 22, 2020 order states as follows:

       1.      On December 22, 2020, this Court entered an order (Doc. # 237) providing in part

“Any objections to written discovery, following an appropriate meet and confer, are due by

01/29/21.”

       2.      Plaintiff has scheduled a meet and confer with opposing counsel regarding their

responses to Plaintiff’s discovery and, if necessary, Plaintiff intends to file appropriate motions

under Rule 37 by January 29, 2021.

       3.      Plaintiff has also been in contact with two third-parties to which Plaintiff has issued

subpoenas: Google, LLC and New Jupiter Media.

       4.      Plaintiff has met and conferred with Google, LLC, who has indicated that it intends

to stand on its objection to the production of any subpoenaed documents until Plaintiff has, at least,

moved to compel production of those documents from defendants and has been unsuccessful in

doing so. Google, LLC has further taken the position that any litigation with respect to its

subpoena must be conducted in the Northern District of California.

       5.      To date, the only documents Plaintiff has received in response to its discovery

requests are a Corporation File Detail Report from the Illinois Secretary of State for Assivo, Inc.,

a 2017 tax return for Assivo, Inc. and a small number of documents previously produced in support

of a motion for extension filed by Raju Vaswani (Doc. #: 212-213) and in response to a

correspondence Plaintiff sent regarding Fed. R. Civ. P. 11.




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       6.      Accordingly, Plaintiff intends to resolve its outstanding discovery issues with

defendants before filing any motion against Google, LLC under Rule 37, unless Plaintiff is

required to file a motion by January 29, 2021.

       7.      Respondent New Jupiter Media has not objected to Plaintiff’s subpoena and

recently indicated that it is working to provide the documents requested by the subpeona, but needs

more time. Accordingly, Plaintiff intends to continue to work with New Jupiter Media, unless

Plaintiff is required to file a motion by January 29, 2021.

       8.      For these reasons, Plaintiff requests that the Court clarify the portion of its

December 22, 2020 order that provides “Any objections to written discovery, following an

appropriate meet and confer, are due by 01/29/21.” More specifically, Plaintiff requests that the

Court (1) confirm that the language requires Plaintiff to file motions compel with respect to any

of defendants’ discovery objections by January 29, 2021, in the event that Plaintiff is unable to

resolve the objections without Court action, and (2) to confirm whether the language is limited to

discovery objections asserted by defendants or whether it applies to discovery issues with third-

party subpoena respondents.

       WHEREFORE, Plaintiff respectfully requests that the Court clarify its December 22, 2020

order and grant such further or other relief as it deems just and equitable.

                                                              Regas, Frezados & Dallas LLP

                                                              By:      /s Steven M. Dallas
                                                                    Attorneys for Plaintiff

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                                         CERTIFICATE OF SERVICE

         The undersigned certifies that on January 26, 2021, I caused to be filed with the Clerk of
the United States District Court for the Northern District of Illinois Plaintiff’s Motion for
Clarification Regarding This Court’s December 22, 2020 Order using the Court’s ECF system,
which automatically results in the transmission, by e-mail to all parties in this action who have
registered use the ECF in the Northern District of Illinois, of a notice of electronic filing that
constitutes service, pursuant to the general order issued by this Court and the Federal Rules of
Civil Procedure.

[]       Under penalty of perjury, I certify
          that the statements set forth
          forth herein are true and correct.    _/s/ Steven M. Dallas____________________________
                                                Signature




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